 Case 2:25-cv-00197-JCZ-DPC             Document 144-1         Filed 04/12/25      Page 1 of 2




Sworn Declaration of Integrity

For: EXHIBIT D-4 — Custom Audience Entities
(2024-04-06 — 2025-04-06)

I, HIRAN RODRIGUEZ, Sui Juris, do hereby declare and affirm under full commercial and
criminal liability, and under penalty of perjury under the laws of the United States of America,
that I have personally created, reviewed, and authenticated the document titled:

EXHIBIT D-4.pdf

Said document was created for judicial entry in Civil Action No. 2:25-cv-00197, in the United
States District Court for the Eastern District of Louisiana. It contains a forensic tabulation of
third-party Custom Audience entities obtained from my Facebook data logs archive dated
2024-04-06 through 2025-04-06.

This evidence is admissible under:
- Federal Rule of Evidence 1006 (Summaries to Prove Content)
- Federal Rule of Evidence 902(11) (Certified Domestic Records of a Regularly Conducted
Activity)

The cryptographic digest of this document is as follows:

SHA-256:
ae7e8d9f17e6e373b8f57cc5cba13aaa160250e6c40d1b9943fcbf109536ebbb

MD5:
fc7a0c79a94ce5031ac49979eed078dd

Executed this day, April 11, 2025.

/s/ HIRAN RODRIGUEZ
Pro Se Plaintiff, Sui Juris
All Rights Reserved — UCC 1-308
Without Prejudice — Without Recourse

So help me God on this day, April 11, 2025, as is hereby so attested!
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eFile-ProSe

From:             Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:             Saturday, April 12, 2025 3:40 AM
To:               eFile-ProSe
Subject:          New EDSS Filing Submitted
Attachments:      Sworn Declaration of Integrity.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Saturday, April
12, 2025 - 03:40.

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459

Filer's Case Number (If Known): 2:25-cv-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Sworn Declaration of Integrity




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